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UNITED STATES DISTRICT COURT C_tt_»-’té't tt.l“s` titl
FoR THE WESTERN DISTRICT oF NORTH CAROLINA

CHARLOTTE DIVISION
Civil Action No. 3:01 CV 427 - MU

KENNETH D. STEWART,

Plaintift`,
v.
DUKE ENERGY CORP., f/k/a DUKE
POWER CO., and DUKE ENGINEERING
SERVICES, lNC.,

Defendant.

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STIPULATION OF VOLUNTARY
DISMISSAL WITH PREJUDICE

Pursuant to Rule 4l (a) of the Federal Rules ofCivil Proeedure, PlaintiffKenneth D. Stewart,

by and through his undersigned eounsel, and Defendants Duke Energy Corporation and Duke

Engineering & Services, by and through their undersigned counsel, stipulate that this action shall be

and hereby is DlSMlSSED WITH PREJUDICE, each party to bear their own costs and fees.

lt is so stipulatedl

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Stat-=é =rNo. i’
216 ‘: tConcord Street k
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Telephone: (828) 433-1991

 

Counsel for Plaintiff

Date: /;/} “ lU" 01

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Case 3:01-0v-OO427-G®M|3&U*rhgn?€(€ Filed 05/14/02 Page 1 of 1 l

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J 1 l S. Cox

.C. State Bar No. 20145

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100 North Cherry Street, Suite 300
Winston-Salem, NC 27`101
Telephone: (336) 721 -l 001

Counsel for Defendants

Date: 11 )a!} {Q 1001 /-w

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